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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                v.                                    Case No. 22-mj-22 (RMM)

ILYA LICHTENSTEIN, and

HEATHER MORGAN,

                Defendants.

                                             ORDER

         Based upon the representations in the Unopposed Motion To Continue Status Hearing and

to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, it is

hereby

         ORDERED that the Motion is GRANTED; it is further

         ORDERED that the currently scheduled status hearing on May 3, 2022, be continued

for good cause to June 3, 2022 at 2:00 p.m.; and it is further

         ORDERED that the time between May 3, 2022 and June 3, 2022 shall be excluded from

calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that the

ends of justice served by the granting of such a continuance outweighs the best interests of the

public and the defendant in a speedy trial, as a continuance will provide the parties additional time

to continue negotiating a potential pretrial resolution, and additional time to review discovery.
                                                                      G. Michael Harvey
                                                                      2022.04.29 13:05:56
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                                      THE HONORABLE G. MICHAEL HARVEY
                                      UNITED STATES MAGISTRATE JUDGE
